Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 1 of 29

Exhibit X
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 2 of 29

From: Weber, Nicholas@CDCR
To: Coleman Team - RBG Only; Steve Fama; Elise Thom; Tyler Heath; Lucas Hennes; Kyle Lewis; Melissa Bentz;
Dillon Hockerson; Stafford, Carrie@CDCR; Ryan, Amanda@CDCR; Christine Ciccotti; Ponciano, Angela@CDCR;

Nina Raddatz; Kent, Kristopher@DSH-S; Lorey, Dawn@CDCR; Bick, Joseph@CDCR: Fouch, Adam@CDCR-
Golding, Michaeli@CDCR; Laura Ceballos; Steven Cartwright; Shama Chaiken; White, Lourdes@CDCR; Hores,

; Brian Main; Cindy
Radavsky; Henry D. Dlugacz; Jamas ‘DeGroot; Jeffrey Metzner; r; Joseph Sorah; Kahlil Johnson: Karen Rea; Kerry
Courtney Hughes, MD; Kerry F. Walsh; Kristina Hector; Lindsay i Lat icea McClendon- Hunt; Lana Lopez;

Tavares
Subject: Coleman - Mission Change Letter
Date: Friday, July 03, 2020 4:32:46 PM
Attachments: Ltr. NW-ML re Mission Chanaes 7.3.20.pdf

All,

Attached please find this month’s mission change letter.

Nick Weber

Attorney

Department of Corrections & Rehabilitation
1515 S Street, Suite 3145S

Sacramento, CA 95811-7243

(916) 323-3202

CONFIDENTIALITY NOTICE: This communication with its contents may contain
confidential and/or legally privileged information. It is solely for the use of the intended
recipient(s). Unauthorized interception, review, use or disclosure is prohibited and may violate
applicable laws including the Electronic Communications Privacy Act. If you are not the
intended recipient, please contact the sender and destroy all copies of the communication.
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 3 of 29

STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION GAVIN NEWSOM, GOVERNOR
OFFICE OF LEGAL AFFAIRS BR
. : Me dad
Jennifer Neill ——
~~
General Counsel J
P.O. Box 942883

Sacramento, CA 94283-0001

July 3, 2020

Special Master Lopes

Pannone Lopes Devereaux and O’Gara LLC
Northwoods Office Park, Suite 215N

1301 Atwood Avenue

Johnston, RI 02919

VIA EMAIL

Special Master Lopes:

I write regarding planned mission changes, reception centers, inpatient bed closures, and tele-
psychiatry office space.

1. Planned Mission Changes

The following are planned mission changes:

Planned Deactivations

SERA iSCiy boi as yg te DT Cet eta at) @ sit) pte]
COR 3A4 EOP III July 1, 2020 150 Conversion to SNY

CDCR will deactivate 150 level III Enhanced Outpatient Program (EOP) beds at California State
Prison, Corcoran (COR). The unit will be replaced by a non-EOP Sensitive Needs Yard housing
unit.

Planned Conversions
SERS ieCiT COU asta stat AY (1) at) EL Tog ott ae Ay tT

oa ts rics
COR 3B1 EOP IV July 1,2020 150 EOP I

CDCR will convert 150 level TV EOP beds to level II at COR. This conversion is part of COR’s
plan to convert yard 3B from level IV to level II. Conversion of 3B2, 3B3, 3B4, and 3B5, will
also occur. Any level II EOP patient out of level at COR and any level II] EOP warranting a
behavioral override to level II at COR will be housed at 3B1 after its conversion. The conversion
has begun but its completion date is dependent on COVID 19 restrictions.

//

/
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 4 of 29

Special Master Lopes
Page 2

2. Reception Center Deactivations

CDCR will close the Reception Centers at San Quentin, California Institution for Men, and Deuel
Vocational Institution on October 5, 2020. Those closures include any related reception center
mental health programs such as programs for EOP patients or reception center Short Term
Restricted Housing units. These mission changes are part of a transition to implement enhanced
Reception Center processing and increase access to the Integrated Substance Use Disorder
Treatment program. The transition will allow CDCR to reduce Reception Center length of stay
while increasing access to rehabilitative programming opportunities. (See attached May 7, 2020,
memorandum Reception Centers Expedited Processing Responsibilities and Timeframes.)

Planned Deactivations

Hikisiaiscyit DYertaa nee) FA 1) sit ky

SQ (Alpine, RC October 5,2020 1006 Conversion to Level I
Badger, NDPF

Carson,

Donner)

CIM (Birch, RC October 5, 2020 558 Conversion to Level II
Cypress, NDPF

Madrone,

Sycamore)

DVI (East RC October 5,2020 449 Conversion to Level II GP
Hall, West

Hall)

DVI (£, F, RC October 5, 2020 792 Conversion to Level III GP
G, and H

Wings)

3. Tents at San Quentin
In response to COVID-19, San Quentin has set up six tents able to house ten inmates in each. As
of this writing, they have not yet been activated, but patients in the MHSDS will not be excluded.

Tentatively, the plan is to house healthy inmate workers in the tents.

4. Crisis and Inpatient Beds

The following is a list of closed crisis or inpatient beds.

Rik etarastiy| Dyer Vea Mest h CHD 1 aiden Nae e Dr Les
SVSP MHCB _ January 25, 2019 10 Staffing TBD
PVSP MHCB _ February 19, 2019 6 CTC Repair TBD
CMF PIP April 29, 2019 13 Staffing TBD
CMF PIP A3 April 23, 2020 2 COVID-19 TBD

Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 5 of 29

Special Master Lopes
Page 3

a. Salinas Valley State Prison Mental Health Crisis Beds

Crisis beds at Salinas Valley State Prison (SVSP) closed on January 25, 2019, pending a root cause
analysis regarding care provided in the Correctional Treatment Center (CTC). The crisis beds
remain closed pending identification of staff for both psychiatry and primary clinicians. SVSP has
one on-site psychiatrist and four telepsychiatrists; however, the on-site provider is primarily
focused on the EOP patients and Temporary Mental Health Unit population.

b. Pleasant Valley State Prison Crisis Bed

Pleasant Valley State Prison’s CTC and crisis bed closed on February 19, 2019 due to roof damage
as a result of rain storms. As a result of the damage, the interior of the building was severely
damaged. The main barrier to reactivating the unit is internal damage, particularly to the safety
cell. Much of the work has been ongoing, however, the work is temporarily stalled due to COVID
19 and no reactivation date is available at this time. Construction within the secured perimeter of
CDCR institutions has stopped until further notice.

c. California Medical Facility Psychiatric Inpatient Program
Defendants previously reported that California Medical Facility (CMF) Q1, a twenty-nine bed
acute unit at the CMF Psychiatric Inpatient Program (PIP), was operating only sixteen beds,
leaving thirteen offline due to staffing vacancies. CMF PIP has stopped clustering the thirteen
closed beds in Q1. Instead, the thirteen closed beds are scattered throughout the PIP.

In addition to these closures, CMF PIP has taken down two dorm beds in unit A3, dorm 4, in order
to achieve physical distancing due to COVID 19.

5. Telepsychiatry Office Space

CDCR currently operates one hundred three telepsychiatry offices at seven locations.

Rigen Tilt) mt Olea la

Elk Grove, CA 17 Offices
San Quentin, CA 19 Offices
Rancho Cucamonga, CA 27 Offices
Diamond Bar, CA 18 Offices
Santa Ana, CA 15 Offices
Fresno, CA 5 Offices
Bakersfield, CA 2 Offices
SUBTOTAL 103 Offices

Below is a telepsychiatry office space activation and deactivation schedule.

Diyesiatiyit Utils mt) OlTi less Firs
Case 2:90-cv-00520-KJM-SCR Document 6768-3

Special Master Lopes
Page 4

Filed 07/15/20

Page 6 of 29

Rancho Cucamonga, CA -9 Offices

December 2021

San Quentin, CA 18 Offices

2024/25

Sincerely,
/s/ Nick Weber

NICK WEBER
Attorney
Office of Legal Affairs

Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 7 of 29

ATTACHMENT A

Reception Centers Expedited Processing
Responsibilities and Timeframes

May 7, 2020
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 8 of 29
State of California Department of Corrections and Rehabilitation

Memorandum
Date : May 7, 2020

To: Associate Directors, Division of Adult Institutions
Regional Health Care Executives
Wardens
Chief Executive Officers

Subject: RECEPTION CENTERS EXPEDITED PROCESSING RESPONSIBILITIES AND TIMEFRAMES

The California Department of Corrections and Rehabilitation (CDCR) is committed to
comprehensive rehabilitative programming in order to ensure successful community re-entry
outcomes. As part of this focus, CDCR is committed to processing inmates out of the Reception
Centers (RC), to mainline institutions more efficiently than our current practice. The RCs are
extremely limited on their ability to provide substantive programming. For inmates to obtain
timely access to rehabilitative programming opportunities, including Integrated Substance Use
Disorder Treatment programs, we must expedite our current processing timelines. Effective
May 26, 2020, the below timelines will be implemented to expedite RC inmate processing.

The historical average of days spent at the RC prior to transferring to mainline institutions has
varied over time, but in recent years that figure is approximately 105 days. By implementing
new processing expectations, CDCR’s goal is to transfer RC inmates to mainline institutions in
approximately 30 days. This will be achieved through the collaboration and teamwork of
multiple stakeholders, including, but not limited to, California Correctional Health Care Services
staff, Case Records staff, Correctional Counselors, and Statewide Transportation Unit staff. The
Warden and Chief Executive Officer shall ensure coordination in scheduling and escorting for
all components to ensure an efficient process.

CDCR has adopted a standardized Local Operating Procedure (LOP) for use by each of the RC
institutions. The attached LOP and flowchart has been approved and shall be utilized to revise
and incorporate institutional specific processes where applicable. Wardens shail ensure their
LOP is updated and a copy is submitted to their respective Associate Director by
May 19, 2020.

As outlined in the LOP, the timeline for RC staff to complete RC processing is as follows:

e Case Records Staff - Complete the case records intake process within five business days
of arrival.

® Mental Health (MH) Clinicians — Complete the MH and DDP screening process within five
business days of arrival.

® Medical/Nursing Staff — Complete the initial health screening and Focused Health
Assessment within five business days of arrival.

* Dental Staff— Complete the RC dental screening within five business days of arrival.
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 9 of 29

Associate Directors, Division of Adult Institutions
Regional Health Care Executives

Wardens

Chief Executive Officers

Page 2

¢ Correctional Counselor (CC} 1 - Complete all components of the CC | casework within five
business days of the inmate’s file being ready for review.

¢ CC II Supervisor - The CC II Supervisor will have two business days from the date the
casework is completed to conduct a review of the case to allow for referral to a
Classification Staff Representative for transfer endorsement.

This memorandum provides the timelines and policies for Classification Services Unit (CSU)
personnel, including the Classification Staff Representatives (CSR), Population Management
Unit (PMU) counselors, and the Statewide Transportation Unit (STU).

Once RC counseling staff place the inmate’s case in Referred to Classification Staff
Representative Status in the Strategic Offender Management System {SOMS), a CSR will review
the case within three business days, and endorse to a mainline program appropriate for the
inmate’s case factors. In the event the case has errors or omissions that preclude an
endorsement, the CSR will send the case back to RC counseling staff for the necessary
corrections, consistent with current policy. CSU, including the CSR Scheduler, will ensure that
RCs have robust CSR coverage so cases are seen expeditiously after being placed in Referred to
CSR status.

Once RC cases are endorsed for transfer by the CSR, PMU counseling staff will review these
cases within two business days to confirm bed availability at the endorsed institution. In the
event there are no available beds at the endorsed institution, PMU staff will advise RC staff to
complete a Redirect Chrono with a specified alternate institution, consistent with current
practices. The Chief and Captain in PMU will ensure the cases are reviewed by counseling staff
within twe business days.

After PMU staff have confirmed bed availability, the inmate will transfer from the RC within
five business days. This will be accomplished by STU staff scheduling movement utilizing
methods to establish the safest and most cost effective way to meet the established timeframe.
Existing Bus Seat Requests from the RCs, currently sent weekly, will be conducted twice a week
on Wednesdays by 1000 hours and Fridays by 1700 hours. STU will continue to produce the
Send/Intake report at minimum once a week, and will evaluate the need for any additional
reports that may need to be sent throughout the week. The Chief and Captain of STU will
ensure RC inmates will be moved within the five business day timeframe.

in-Service Training (IST) Managers shall ensure all staff assigned to RC processing receive
documented On-the-fob Training (OJT) regarding the changes to the RC processing, within 30
days from the date of this memorandum. The OST shall include a copy of this memorandum as
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 10 of 29

Associate Directors, Division of Adult Institutions
Regional Health Care Executives

Wardens

Chief Executive Officers

Page 2

well as the updated LOP. The IST Managers shall utilize training code, BET 11054489, with
Reception Center Expedited Processing Responsibilities and Timelines, in the notes section.

Wardens and Chief Executive Officers shall ensure all staff training is completed for their
institution, and shall provide a proof of practice certification memorandum to the RC Associate
Director, and the applicable Regional Health Care Executive.

lf you have any questions or require further clarification, please contact Dan Ross, Captain, RC
Mission at (916) 324-6808 or Dan.Ross@cder.ca.gov, or Charlie Thompson, CC Ill, CSU, at
(916) 322-7150 or Charles. Thompson4@cdcr.ca.gov.

Original Signed Original Signed
CONNIE GIPSON R. STEVEN THARRATT, MD, MPVM, FACP
Director Director, Health Care Operations
Division of Adult Institutions Statewide Chief Medical Executive

California Correctional Health Care Services

Original Signed

JOSEPH BICK, MD, CCHP
Director (A)
Division of Health Care Services

cc: Kimberly Seibel
Charles Callahan
Chris Podratz
J. W. Moss
Brian Moak
Dennis Halverson
John Herrera
Heidi Dixon
Dan Ross
Charlie Thompson
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 11 of 29

eo

RECEPTION CENTER INTAKE PROCESSING
(Institutional Name Here)

Revision Date: XXXXXX
L PROCEDURE NUMBER AND TITLE

Operational Procedure # (XXX)
Reception Center Intake Processing

This Operating Procedure (OP) supersedes all previous direction regarding the
intake and processing of Reception Center (RC) inmates.

II. PURPOSE AND OBJECTIVES:

A. The purpose of this Local Operational Procedure (LOP) is to provide a standardized
collaborative framework for the Department’s goals regarding intake and processing of
all RC inmates.

B. The California Department of Corrections and Rehabilitation (CDCR) recognizes that a
collaborative partnership between custody and Health Care (HC) staff is necessary to
improve and maintain efficient RC processing. CDCR recognizes that achieving
organizational change can only occur if it is driven by the highest levels of leadership.
Not only must leaders embrace the principals of organizational change, they must model
and communicate the behaviors that are expected to achieve it.

C. The details of this operations procedure have been developed to achieve the
Department’s goals and to enhance collaboration. When fully implemented, this
procedure will create a continuity of teamwork amongst all disciplines, improve RC
processing time frames and greatly reduce the inmate’s length of stay in RC housing.

Wi. COMPLIANCE INDICATORS;
To comply with this policy, the following expectations shall be met:

A. The guidelines outlined in this LOP will be utilized to develop expectations and time
frames for processing all RC intake inmates.

B. The Strategic Offender Management System (SOMS) report titled, “Unclassified
Inmates and RC Processing Completion Dates” will also be utilized as a tracking tool.
This report captures the Case Records, Institution Staff Recommendation Summary
(ISRS), Classification Services Representative (CSR), portions of processing and will
identify any overdue or missing documentation.

C. Wardens will develop a process to maintain monitoring of LOP compliance.
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 12 of 29

Operation Procedure # (xxx)
RC Intake Processing

Page 2 of 4

D.

Each RC institution will provide weekly RC processing reports to the RC Associate
Director’s office.

IV. REFERENCES:

A.
B.

California Code of Regulation, Title 15, Section(s) 3075, 3075.1, 3.999.305

Health Care Department Operations Manual (HCDOM), Chapter 3, Article 1, Section
3.1.7, Care Management/Care Coordination.

Health Care Department Operations Manual, Chapter 3, Article 1, Section 3.1.8,
Reception Center.

Health Care Department Operations Manual, Chapter 3, Article 3, Section 3.3.2.2,
Dental Care — Reception Center.

Mental Health Services Delivery System (MHSDS) Program Guide, Chapter 2,
Reception Center Mental Health Assessment.

LOP XXX (Any other institution specific LOP that should be referenced or could be
impacted based on this direction.)

V. APPROVAL AND REVIEW:

A.

This procedure shall be reviewed and updated annually by the Associate Warden of the
Reception Center (AWRC), the Chief Nurse Executive (CNE), and the Chief of Mental
Health (CMH) and the Supervising Dentist (SD). This annual review shall include an
update of the operational procedures to align with modifications in the CDCR MHSDS
Program Guide and the HCDOM where appropriate.

After approval by the Chief Executive Officer (CEO), the procedure shall be forwarded
to the Warden for review and approval.

VI. RESPONSIBILITY:

The CEO and Warden have overall responsibility for the implementation and operation of
this operational procedure.

Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 13 of 29

Operation Procedure # (xxx)
RC Intake Processing
Page 3 of 4

Vil. INTAKE PROCEDURE:

A. To achieve the Department’s RC processing goals it will require a detailed collaboration
of Case Records Staff, Classification Services and Correctional Counselors as wel! as
Mental Health (MH), Medical, Nursing and Dental professionals. Each discipline will
be required to complete their specific role in the process within the established time
frames to ensure continuity and efficiency.

B. The intake screening process will initiate for each Inmate/Patient (IP) upon their arrival
to the RC. Each disciplines role in the process is described below:

1. Case Records Staff
a. Receive and review all documentation that arrives with the IP from the county.
b. Within the first (5) business day of arrival, complete the case records intake
process.
2. MH Clinicians
a. Within the first (5) business days of arrival, the IP’s shall receive a MH screening

as described in the MHSDS Program Guide Chapter 2, Reception Center Mental
Health Assessment.

3. Medical/Nursing Staff

a. Within the first (5) business days of the IP’s arrival they shall receive an initial
health screening and triage as described in HCDOM 3.1.7, Care
Management/Care Coordination and HCDOM 3.1.8, Reception Center.

4. Dental Staff
a, Within the first (5) business days from the IP’s arrival, perform a Reception Center
screening as described in HCDOM 3.3.2.2 Dental Care — Reception Center.

5. Correctional Counselor I (CCD)

a. Within the first (5) business days from the IP’s arrival, the file should be ready
for review by the CCI.

b. Review the inmate’s electronic record in the Strategic Offender Management
System (SOMS) and Electronic Records Management System (ERMS).

c. The CCI will be expected to complete all components of the counselor casework
within (5) business days of the inmate’s file being ready for review.

d. The CCI’s completed casework will be forwarded to their assigned CCII for
review and approval in SOMS.

Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 14 of 29

Operation Procedure # (xxx)
RC Intake Processing
Page 4 of 4

e. If the casework is returned to the CCI for corrections the CCI will have (2)
business days ftom the date of return to make the corrections and resubmit it
back to the CCII.

6. Correctional Counselor II (CCID)

a, Conduct a daily review of all assigned CCI casework to ensure compliance with
the casework time frames.

b. The CCII will have (2) business days from the date the casework is completed
to conduct a review and approve or return the case for corrections.

c. If the casework is returned to the CCI for corrections the CCI wiil have (2)
business days from the date of return to make the corrections and resubmit it
back to the CCII.

C. Program effectiveness, quality of services and compliance requirements for this LOP
will be monitored and reported through the Warden and CEO to the RC Associate
Director and the Regional Health Care Executive,

(Name) Date
Chief Executive Officer
(Name) Date

Warden
29

& ainyedag 0} jeAusy
° wo awe ya} S14) 07 adeueyy LNAWISYOGNA
8 NOLLVOISISSVTD
oO
8S skeq 0€
é YaISNVEL eT
o
z
\E/ SOILLSONDVIG Sea
CETTE ET tey] AS LET J 3] By As)
dake meme] bt 1 AL EVAVE Phe
Hee \/ Kare leap)
SESW ELUIDELay wed

Pm ibas, BBs |

SEO mers
Pee RRL

err Te ey eee te oo ae
bo die Oe | Poe bee hed
TEE SP Le blue lca i PEEL) Tae

Sheps pLOD
BAIIS O} Yr] SYJUOW PZ-ST 40} AjUO

\/ Ber Ce NT ard ibs |
oT elmo
N3auS LANS $ay0334u 3S)

SINS OO CRE RENE OR OAK EOEr.

ESTs
oro

20-KJM-SCR Document 6768-3

Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 16 of 29

ATTACHMENT B

Mental Health Services Delivery System
(MHSDS) Management Information
Summary (MIS) Report

June 29, 2020
Case 2:90-cv-00520-KJM-SCR__ DOCU yen’ 68-3

MENTAL HEALTH SERVICES DELIVERY SYSTEM (MHSDS)
MANAGEMENT INFORMATION SUMMARY (MIS) REPORT

PTS Belg

Le T

ET -Mee-a0- 11

\Correctional Clinical Case Management System (CCCMS)

fe-yelleiag

is

eT
Peat

NE Tia 4

etnias

Filed 07/15/20

[e-Jer-tea ia

ass

es
Petit E

Page 17 of 29

PNET 4

Peres

Reception Center (RC) 1,169 96
General Population (GP) 20,178 1,693
Enhanced Outpatient Program (EOP) 101 OQ
Mental Health Crisis Bed (MHCB) 3 0
Psychiatric Inpatient Program (PIP) 4 0
Specialized Medical Beds Housing 565 29
CCCMS |Administrative Segregation Unit (ASU) 406 71
Condemned 142 14
Long Term Restricted Housing Unit (LTRH)® 270 170 0
Non-Disciplinary Segregation (NDS) 0 0
Psychiatric Services Unit (PSU) 5 0
Security Housing Unit (SHU) 0 14
Short Term Restricted Housing Unit (STRH)® 1,125 553 Oo
Enhanced Outpatient Program (EOP) 7,075 6,521 225 173
Reception Center (RC) 75 1
General Population (GP) 153 42
Enhanced Outpatient Program (FOP) 6,318 5,383 195 119
Mental Health Crisis Bed (MHCB) ry Oo
Psychiatric Inpatient Program (PIP) 16 0
Specialized Medical Beds Housing 191 1
EOP |Administrative Segregation Unit (ASU) 585 428 96 20 7 0
Condemned 65 0
Long Term Restricted Housing Unit (LTRH) 0 Oo
Non-Disciplinary Segregation (NDS) 0 QO
Psychiatric Services Unit (PSU) 172 115 60 10 3 1
Security Housing Unit (SHU) 0 0
Short Term Restricted Housing Unit (STRH) 73 Oo

Beye lutte ested)

CCCMS

EOP
EOP-ASU/NDS/STRH
EOP-PSU/LTRH/SHU

PSYCHIATRIC
GRAND TOTAL

ETAL

Pa

Tai PNET 4
eRe) a e141 oryteiad (or-]o- Co [5 a oT Tt aa a
Eee GEL
Mental Health Crisis Bed (MHCB)’ 424 272 3 41 11 1
Psychiatric Inpatient Programs: aioe oad =
Intermediate Care Facility (ICF) "
Low Custody 390 335 10
Atascadero State Hospital (ASH) 256 224 5
Coalinga State Hospital (CSH) 50 45 1
California Medical Facility (CMF) 84 66 4
High Custody 776 708 43
California Health Care Facility (CHCF) 354 353 13
CMF Single Cells 106 105 1
CMF Multi Cells 70 45 4
SVPP Single Cells 202 170 21
Salinas Valley Psychiatric Program (SVPP) Multi Cells 44 35 4
Acute Psychiatric Program (APP) 369 284 17
ASH 0 0 0
CHCF 163 103 11
CMF 206 181 6
Psychiatric Inpatient Program (PIP) 40 30 0 75 40 0
California Institution for Women (CIW) 45 30 0
Patton State Hospital (PSH) 30 10 0
sQ 30 23 0
SQ (Non-condemned) 10 7 0
Penal Code 2974s (Parolees)” 2
Metro State Hospital (MSH) 0
Napa State Hospital (NSH) 2
Patton State Hospital (PSH 0

AES

CENSUS PERCENTAGES

Total Total Total Awaiting | Total Over
Capacity Census’ Placement’ | Timeframes’| % MHSDS % CDCR‘
29,250 25,213 75.07% 22.12%
6,513 6,068 18.07% 5.32%
605 508 96 61 1.51% 0.45%
182 118 61 20 0.35% 0.10%
465 283 4 1 0.84% 0.25%
1,650 1,397 70 32 4.16% 1.23%
38,665 33,587 231 114 100.00% 29.47%

1 Census sources: HCODS for CCCMS, EOP; HEART for MHCB; RIPA reports for ICF, APP, and PIP programs.

2

Awaiting Placement = The sum of inmates waiting to be placed in a bed at a specific level of care. Those awaiting placement to ICF, APP, and PIP include

referrals that have been custodially reviewed by HCPOP and are awaiting bed availability, inpatient program acceptance, or transfer to the inpatient program
as of the reporting date (based on the Referrals to Inpatient Programs Application (RIPA)}.
3 Total Over Timeframes = The number of referrals that are beyond Mental Health Program Guide transfer timeframes: EOP-ASU includes cases in non-hubs

waiting > 30 days, PSU includes cases with an original CSR endorsement date > 60 days, MHCB includes referrals > 24 hours, Psychiatric Inpatient includes

Intermediate referrals > 30 days and Acute referrals > 10 days.

* CDCR von as of 6/24/20 (OISB). Based on Total In-State Institution Pooulation and Out of State (COCF).

> Census numbers are tracked and updated by Department of State Hospital (DSH).

® LTRH and STRH capacity numbers obtained from the PMU Weekly Population Summary Report dated March 6, 2020.

* In response to CDCR COVID-19 Guidelines some patients may be housed outside of their level of care and/or in

a Temporary Mental Health Unit.
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 18 of 29

Exhibit Y
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 19 of 29

From: Weber, Nicholas@CDCR

To: Melissa Bentz; Coleman Team - RBG Only; Steve Fama; Angie Cooper; ee Brian Main; Cindy
Radavsky; Henry D. Dlugacz; Jamas DeGroot: Jeffrey Metzner; Joseph Sorah; Kahlil Johnson; Karen Rea; Kerry
Courtney Hughes, MD; Kerry F. Walsh; Kristina Hector; Lindsay i rates McClendon- Hunt; Lana Lopez;
Maria Masotta; Matt Lopes; Michael Ryan; Mohamedu Jones; Mary Perrien; Patricia M. Williams; Rachel Gribbin;
Regina Costa; Rod Hickman Gmail; Sharen Barboza; Sofia Millham; Tim Rougeux; William Trezvant; Zelia M.

Tavares

Cc: Elise Thorn; Tyler Heath; lucas. hennes@doj.ca.gov; Kyle Lewis: Dillon Hockerson; Stafford, Carrie@CDCR; Ryan,
Amanda@CDCR

Subject: Coleman Tier Report and TMHU Patient List

Date: Monday, July 06, 2020 4:53:57 PM

Attachments: Tier Report 06222020 - 06262020 .pdf
TMHU Patient List 0622-06262020.pdf

All,

Attached is the Tier Report and TMHU/Treat in Place List for the week of June 22nd.

Nick Weber

Attorney

Department of Corrections & Rehabilitation
1515 S Street, Suite 3145S

Sacramento, CA 95811-7243

(916) 323-3202

CONFIDENTIALITY NOTICE: This communication with its contents may contain
confidential and/or legally privileged information. It is solely for the use of the intended
recipient(s). Unauthorized interception, review, use or disclosure is prohibited and may violate
applicable laws including the Electronic Communications Privacy Act. If you are not the
intended recipient, please contact the sender and destroy all copies of the communication.
dO4 0z0¢/SZ/9 0720z/zz/9 qHW xe
ai dO4 0z0¢/SZ/9 07202/zz/9 aHW XBI\-UON
| sulpuad 0202/61/95 aHW xe
d sulpued 0z0z/zz/9 qHW xe
Cl dO4 020¢/#z/9 07z0z/zz/9 qoHW XB|-UON
wo SW) 020¢/#z/9 0720Z/Tz/9 q@OHW XPI\-UON
a SIND00 0z0¢/SZ/9 0z0z/Zz/9 qHW xe
ou dO4 020¢/#z/9 07202/Tz/9 qHW XB|\-UON
Sulpuad 0z02/97/9 aH XB|\-UON
oO sulpuad 0z07/SZ/9 aH XB/Aj-UON
N Sulpuad 0z0¢/TZ/9 aH XB|A\J-UON
LG Sulpuad 0z0z/Ez/9 aH XB|\-UON
Ny Sulpuad 0z02/9T/9 aH XP
oO dulpuad 0z0¢/9T/9 SW) xe
a Sulpuad 0z07/0Z/9 aH xe
iL Sulpuad 0z0z/TZ/9 HIN XB|\-UON
gOH 0z07Z/Ez/9 0z0¢//T/9 aH Xe
on aH 0z07Z/Ez/9 0z02¢/9T/9 aH xe
on sulpuad 0z07/6T/9 aH XB|AJ-UON
oO dO4 07z07z/Sz/9 0z0¢/zz/9 qOHA xe
3 aOH 0z0z/Ez/9 0202¢/8T/9 aH Xe
= an Lov 0720z/z2/9 0z02¢/ST/9 I xe
wo qHW 0720Z/%z/9 0202¢/T2/9 aH XB|\-UON
c Sulpuad 0z0z/TZ/9 HIN XB|\-UON
oO Sulpuad 020¢/tZ/t 49! Xe
A dO3 0z0z/zz/9 0202¢/8T/9 aynoy XB|\-UON
Sulpuad 0z0¢/zz/9 491 xe
Sulpuad 0z02/0z/9 aH XB|\-UON
ne aOH 0z0z/zz/9 0z0¢/ST/9 qOHA XP
on dO3 020z/z2/9 0z02¢/9T/9 aH xe
Ss gOH 07z02/Sz/9 0¢z/0z/s ainoy XBJ-UON
5 Sulpuad 07z0c/£Z/S 491 xe
< Sulpuad 0z0¢/0z/9 aH XP|Aj-UON
Si dO4 0207@/vz/9 0z0z¢/Tz/9 aH xe
LO sulpuad 0202¢/62/S aynoy xe
So sulpuad 0z0z/Sz/9 q@oHA XB|\-UON
> sulpuad 0207Z/¥z/9 aH XP
i sulpued 07207Z/EC/9 aH XB|Aj-UON
a dO4 0¢0¢/#2/9 0z0z/Zz/9 aH XB|\-UON
A dO4 0c0¢/E2/9 07z0z//T/9 HIN XP|A|-UON
w aOHIN 0z02/€z/9 0z0Z//T/9 aH Xe
a sulpuad 0z0z/Ez/9 aH Xe
O

paseayay uayM
312) JO [BAB]

Ssea/sy jo 33eq

JEALUIY Jo 3}eq

SJB) 40 [aa]

uo1e907 Zulsnoy

#490)

awe S414

SWeN Se]

dSAS

dSAS

dSAS

dSAS

dSAS

dSAS

dSAS

dSAS

39S

33S

39S

419

IVS

IVS

OVS

OVS

QVS

IVS

IVS

IVS

OVS

IVS

OVS

OVS

OVS

QVS

IVS

QVS

IVS

IVS

OVS

OVS

IVS

OVS

QVS

dSoIN

dso

dSoIN

dSoIN

dSoIN

dSDIN

104

yoNnyysu|

uolzay

Page 21 of 29

ard

ar

ar

are

ard

gre

ard

ard

ar

ar

ard

Jud

TW

dSAd

dSAd

oV1

QV1

Qv1

ov1

QV1

Qv1

D2

DD

dsv

dsv

dsv

dSA

dSA

dSA

dSA

dSAS

dSAS

dSAS

dSAS

dSAS

dSAS

sulpuad 07z0¢/¥2/9 aH XE|-UON
sulpuad 07z0z/rZ/9 aH XE|-UON
Oo sulpuad 07z0¢/r2/9 qoHW XE|-UON
NI sulpuad 07z02/¥z/9 aH Xe|-UON
Lo sulpuad 0c0¢/r2/9 qoHW XE|-UON
t sulpuad oz07¢/ZZ/€ 431 aoe] ul jUuaWeal |
Oo Suipuad 0c0¢/+/9 4 a0ejq ul Juaweaty
a sulpued 0207¢/0E/v 491 aoe]q Ul JUaWeA1)
= Sulpuad 0z0z/3/9 431 S02]q Ul JUaWyead]
LL sulpuad 0z0z/8T/S 431 302] Ul JUaWIeaI |
dulpuad oz0z¢/TT/E 431 aoe] Ul JUaWyeSI |
“9 sulpuad 0z0¢/r7Z/9 aOHW Xe-UON
oO sulpued 0z07¢/8T/9 qOHAW XP-UON
NM aH 0z0¢/F2Z/9 0c0¢/TZ/9 q@oHW X|\-UON
¢ aH 0z0¢/r2/9 07z0z/0¢/9 aoHW Xe-UON
cI sulpued 0c0¢/Ez/9 qoHW xe
S Sulpuad 8toc/cz/9 aoHW xe
- sulpuad ocoz/cz/9 aoHW xe
OQ sulpuad 0z0z/9T/9 aoHW xe
a dO4 0z0z/Ez/9 0z0¢/9T/9 qoHW Xe|-UON
sulpuad ozo¢/ct/9 qHW xe
Y SWI29 0z0z¢/ez/9 07z0¢/¢¢/9 aOHW Xe\-UON
O SINDD9 0z07¢/Sz/9 07c07z/61/9 aOHW Xe|-UON
1 Sulpuad 0z0¢/TT/9 aH a2e]q ul Juanes)
= dod 0c07¢/Fz/9 07z0z/9T/9 gH aoe] ul JUaWUyead |
Y SIWD29 0z02¢/92/9 07z02/FT/9 qoHW ale] Ul JUaWyeal]
oO sulpuad 0z0z/€z/9 qOHW XP\-UON
‘a sulpuad 0z0¢/Ez/9 aOHW Xe-UON
OQ Sulpuad 0zo7¢//T/9 qOHAW Xe|\-UON
qi Sulpuad 0z0¢/TZ/9 a@OHAN xe-uoN
oO sulpued oz0z¢/ez/9 aoHW xe
sulpued ozoz¢/€z/9 aoHW xe
Sulpuad ozo¢/ct/9 NZ0Z/7C/9 JO se 49 xe
al do3 0z07¢/cz/9 0z0z¢/TZ/9 aH Xe-UON
vy sulpuad ozo7¢/cz/9 aoHW xe
OO dod oz0z¢/zc/9 oz0z¢/ET/9 aoHW xe
sulpuad 0z0¢/9T/9 qHW XP|-UON
SW299 0z0¢/r7z/9 oz0¢/zz/9 qaoHW xe

dSAS

dSAS

Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 22 of 29

Exhibit Z
State GRASRifort Pay RATE GSES Hdepayioent 6768-3 Filed 07/15/ Cvin RAMS Gin, GSvernor

(|
DSH

J

Memorandum

Date:
Subject:

March 16, 2020

DEPARTMENT DIRECTIVE ON SUSPENSION OF PATIENT
ADMISSIONS FROM THE CALIFORNIA DEPARTMENT OF
CORRECTIONS AND REHABILITATION (CDCR)

Pursuant to Governor Gavin Newsom’s Proclamation of a State of
Emergency dated March 4, 2020, the Director of the Department of State
Hospitals issues this Directive in accordance with the Director's authority
to execute laws relating to the care and treatment of persons with mental
health disorders placed with the State Department of State Hospitals
(DSH). To ensure that patients with mental health disorders currently in
DSH's custody continue to receive the services and support that are
threatened by disruptions caused by COVID-19, and to protect the health,
safety and welfare of those patients, the Department is suspending
admission of patients placed at DSH facilities pursuant to Penal Code
section 2684 (Coleman patients).

All Coleman patients presently in DSH’s custody will not be discharged
until DSH rescinds the suspension of Coleman patient admissions, unless
an emergency discharge is required for patients who cannot be safely
maintained in DSH’s unlocked dorm setting.

This suspension of Coleman patient admissions will remain in effect for 30
days, unless extended by the Director of the Department.

Were

STEPHANIE CLENDENIN
Director

“Caring Today for a Safe and Healthy Tomorrow”
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 24 of 29

Exhibit AA
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 25 of 29

From: Nina Raddatz
To: Kerry F, Walsh; Michael W. Bien; Lisa Ells; Jessica Winter; Cara Trapani; Amy Xu; Mare Shinn-Krantz; Donald
Specter; Steve Fama; Toche, Diana@CDCR; Bick, Joseph@CDCR;: Neill, Jennifer@CDCR; Daye, Eureka@CDCR;
Ponciano, Angela@CDCR; R; Nick Weber; Matt Lopes; Mohamedu Jones; Kristina Hector; Angie Cooper; Rachel
Gribbin; Lana Lopez; Tim Rougeux; Jeffrey Metzner; Kerry Courtney Hughes, MD; Mary Perrien; Henry D.

Dlugacz; Lindsay Hayes; Mary Perrien; Karen Rea; Jamas DeGroot; Brian Main; Kahlil Johnson; Sharen Barboza;
Sofia Millham; Melissa Bentz; Barney-Knox, Barbara@CDCR; Golding, Michael@CDCR; Mehta, Amar@CDCR; Kyle
Lewis; Elise Thom; Lucas Hennes; Ed Swanson; "Silberfeld, Roman M."; Ed Swanson; Barrow, Roscoe@CDCR

Cc: Kent, Kristopher@DSH-S; Ciccotti, Christine@DSH-S; Clendenin, Stephanie@DSH-S: Hendon, Catherine@DSH-S;:
Warburton, Katherine@DSH-S

Subject: Coleman COVID Task Force Meeting: DSH Reports

Date: Monday, May 11, 2020 4:16:41 PM

Attachments: i Coleman Patient Census and Waitlist Report 5-8-2020.pdf
2 Census by Unit Coleman Units 5-11-20.pdf
3 Coleman Discharaes 5-3-20 to 5-9-20.ndf

Good Afternoon, All:

Please see the attached DSH reports for our Task Force meeting tomorrow:

1. Coleman Patient Census and Waitlist Report

2. Census by Unit for Units with Coleman Patients
3. Coleman Discharges

4. OMD Admissions

Respectfully,
Antonina (Nina) Raddaty
Attorney III

Department of State Hospitals

Legal Division

1600 9th Street, Suite 437

Sacramento, CA 95814

Work Mobile: (9 1 6) 208-9544 **Please Note: I am working remotely. Please direct all calls to this number**
California Deparment of

State Hospitals

CONFIDENTIALITY NOTICE: This email message, including its contents and any attachments may contain confidential
and/or legally privileged information. It is solely for the use of the intended recipient(s). Any unauthorized interception,
review, use, disclosure or distribution is prohibited and may violate applicable laws, including the Electronic Communications
Privacy Act. If you are not the intended recipient, please contact the sender by reply email, and destroy all copies of the
original message.

DO NOT FORWARD EMAIL WHICH IS SUBJECT TO ATTORNEY CLIENT PRIVILEGE.
| JO}

SWING -eunog

Oo
N
—
oO
©
N
®
om
©
oO
oO “luo sjuaged ajeway 10j 91 g-HSC ye speg,
N “aBueys asd JO [aAa7] 10 HY] JO UMOpdajé JO} HSC 0} Pavayal did HCD & UlyjIM jUsUyea jUaReduI Burajooas Auauns eyuaged Joy sjeuayoy,
Lo "juauyesy juayedul 10) HSC 0} Jaysuen Bueme squayed Jo) uosiid yoga & Woy sjeuajal jog,
r ‘gen AepAsaaa Joy ayeidosddeul pawaap aue pue ‘j99 ay} oyu! eauNyYyBie payaujeas Jo elamoye aaey “a! ‘wesbold ayy ul Bulenoy Jayjo ayy woy Jayip AyeoieAyd pue Buyeuaay Joy pasnbar sue swoos uone]oe! [eoIpay,
oO “suede 0} anp ajgeyeaeun Ajyesodwis} aie spaq peul|pay,
Oo “Ayoedes Buipasoxa Adu Ajueseaaau jou sa0p yng ‘epaq a[gejieae Joy s]e}0] aageBau ul yneos Aew siy] “UOHeZIN pag aziWIXew
oy-sjuaied pajdaoce 10) pjoy uo pasejd aq Aew abseyssip Buipuad syuaned yim spag ‘Ayjioey ay} UlUjIM Ajizeded WNWIXew je aJe spaq UeWajoD payeoolje Uayyy “HSC 0} Ja;suUel} 0} Buipem syuaijed pue juswaAow yuaned jeuajul Joy paubiese aie pjoy uo spag
Ib
LL
(sheq o¢< Buniem 9 sapnjoul) 0 0 0 Lb 0 0 0 el 0c [FOL
9
0 edid YO09 pHO8ld Yd] malAay
oO Sjeuajay paydaooy Gulpuag sjeuajoy Lt 0 0 0 eh Of glOHEd
Nuorssiwpy Bunremy gue
a 7Paulpey ajeway
E
SS swened IFIOL _— SPO SITEREAY | uonejoe} jearpayy spag pean seed _ Arde PG | - suo poyooun - Auyoes HSC
Cc
@M a/eulay - SULIOG payroju/ - Apoysny MOT aed aJEIpauUiazU]
Ee
>
Oo
(eeu o¢< Bungie 0 sapnjouy) 4 0 0 62 0 0 I 912 90E [E}O]
t edild 4909 pUObUd YO0D malay S 0 0 0 SP 0s efuljeon
B/eLajay paydaooy Bulpuag sjeuajey Fe 0 0 I be 9S¢ OBPEISE}Y
Oporssiupy Bunreny
SJUaed |E}O] Sipe, spag ageyleay ae oe PIO} Uo speg eneuas Ayoedep pag su0g paysojun - Awpoe4 Sa
” : — : UORE[OS] [EDIPaly spag : ~
=
> suLiog payzojuy) - Apojsny MOT aeD ajelpauuazuy
x
(ofa Ol< Buiej, 0 sapnjou}) 0 0 0 0 0 0 0 0 - IFIOL
oO 0 edid 4Y9d9 pled HO0D malay _
Tv SjELaJay payday Bulpuag sjeajay 0 0 0 0 0 guoned
Cosy a spag a/qe|IeA' <= ee PIO} Uo Spag eneua Kysedeg pa: a]eway - aynay - Aupoe.
! Sie, 4 =
o sjuaned [eyo] ISIHIEM, Pag sgeleny uone|os [eoIpay spag I 2 i 9 peg yewa4 'y - AWIPe4 Sd

Case 2:

Oz/giG Yo se eyeq
Hodey ysipieM pue snsued jueHed 409 HSC

s1uaneg aey anoy

PLOGG WO ‘CawEeS
OZp wooy Teens YRUIN DDL
wp weawabeury wage,

NOILVLNAIWS Tdi ONY ONINNV 1d DISALVYLS TVLIdSOH 40 NOISIAIG

J0Wwa05 ‘WOSMAN NIAYS

PRUOMIED 10 SEIS
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 27 of 29

Exhibit BB
Case 2:90-cv-00520-KJM-SCR Document 6768-3 Filed 07/15/20 Page 28 of 29

From: Kent, Kristopher@DSH-S

To: Kerry F, Walsh; Michael W, Bien; Lisa Ells; Jessica Winter; Cara Trapani; Amy Xu; Marc Shinn-Krantz; Donald
Specter; Steve Fama; Ciccotti, Christine@DSH-S; Bachman, Ellen@DSH-S; Hendon, Catherine@DSH-S: Nina
Raddatz; Toche, Diana@CDCR; Bick, Joseph@CDCR; Neill, Jennifer@CDCR: Daye, Eureka@CDCR; Ponciano
Angela@CDCR; Nick Weber; Melissa Bentz; Bamey-Knox, Barbara@CDCR; Golding, Michael@CDCR; Mehta,

; Kyle Lewis; Elise Thom; Lucas Hennes; Ed Swanson; “Silberfeld, Roman M."; Barrow,

Roscoe@CDCR;: Tyler Heath

Cc: Matt Lopes; Mohamedu Jones; Kerry F. Walsh; Kristina Hector; Angie Cooper; Tim Rougeux; Jeffrey Metzner;
Kerry Courtney Hughes, MD; Mary Perrien; Henry D. Dlugacz; Lindsay Hayes; Mary Perrien; Maria Masotta; Karen
Rea; Jamas DeGroot; Brian Main; Kahlil Johnson; Sharen Barboza; Sofia Millham; Dan Potter

Subject: DSH Coleman COVID-19 Task Force Reports

Date: Monday, July 13, 2020 6:43:30 PM

Attachments: i Coleman Patient Census and Waitlist Report 7-10-20.pdf
2 Census by Unit Coleman 7-10-20.pdf
Coleman COVID-19 Referral Progress for 7-14-20 Task Force Meeting.pdf

Hello All,

Please find attached the DSH reports for this week. Thanks, Kris
Page 29 of 29

d 07/15/20

ogQuaned paydaace 10) pjoy uo pasejd aq Aew aBseyseip Buipuad equaned yin spaq ‘AyOey ayy UI AYOede> WNWIXeW Je ae spaq Uewasoy payeso|je UaYyAA “HS oO} Jajeuey 0} Bugiem squaged pue yuswacow yuaned jewayzul Joy pauBlese ave pjoy uo spag

‘gen Aepfuaaa Joy ayeudouddeul pawaap ae pue ‘|j99 ay} oyu! SaUNVYyBis payqujeal Jo slamoye aaey “

b Jo,

SWWNE -saunog

“saqioey Bunayad uo Spjoy -CIAOD o} anp sep o¢< Buytem aie sjuaged,

‘ploy Aypoey e uo ale ey} SjeLiayal G} epnjoul sjeLayel paydeaoy,
“Aluo squaned ajeway 10) a1e J-HSC ye peg,

“aBueyd ale2 Jo J9A27] 10 HY Jo UMopdays 10} HSC 0} Palapa! did YOO & Wy JUaUREEN Uaedu! HujAleoas AuauN syuared 104 s[eLIAJey,

“juewyeay juaedul 10) HSC 0} JeysueN Bugleme syuajed Joy uostid yoqd & Woy sjeuayal youd,

‘weibod ay} ul Buisnoy Jayjo ayy wouy Jayip Ayjeoishyd pue Bureuasy 10} pasinbas aye swool uoHejos! jeoIpayl,

“suvedai 0} anp ajqejjeaeun Ajiesodwiay are spaq pauljpey,

‘Ayoedes Buipasoxa Ajdun Ajueseaoau jou sap yng ‘spaq a,qe|lene Joy s]e}0) BAQeBHau ul yneas Aew siy] “WOREZIIN pag aziwIXew

LL
(skeq o¢< Bune 9 sapnjoul) 0 | £ 0z 0 0 0 OF of [e}OL
~
1 ? edid Y3909 j498Ud YO0D Malay
oO )Slelajay paydasoy Bulpuag sjeuajay Oe 0 0 0 Ol Of gloned
Nuolssiupy Bunremy een
4 Paulpay ayewia4
oO © z OH UO Spa di
SWORE” |B}O] ISIE ote UOHE|Os] [EDIPayy spag iPICH Uo sP2g sneud) Aypeded pag - BULIOG paysoluF - AyjI9e4 HSC
=
® ajeulay - SULIOG payojUP) - Apoysny MOT ae) ajelpauajul
e
5
O
(ofa o¢< Bune z sepnjoul) tL L zt oF 0 0 0 992 90€ [e}0L
0€ did Y909 plO8Ud YDdD MalAay ? 0 0 0 QF 0S ebuljeos
SIEUajay paydasoy Bulpuag sjeua}9y gE 0 0 0 02z 9gz ouapeoseyy
Oporssmupy Bueny
UaHed |E}OL yelpe; Spog ageleay ce zPOUHPPY PlOH Uo spag sneuas Ayoedey pag Suog payoojun - Appoey HSG
v) a = , uoHe|Os] |EDIpayy spag : . i
=
> suLiog paysojuy - Apojsnd MOT ae ajelpauuajuy
“<
J
(fea OL< Bure 0 sapnjouy) 0 0 0 0 0 0 0 0 Si 1E}OL
oO 0 did ¥9d9 HOS HOG malAay
=> S = LOye,
3 SELIaJOY paydasaoy Buipuag sje1ajay 9 0 0 0 0 glOHed
oissiupy Buniemy eniaG
u ullpay
cS Swened [FOL JeIHIEM, spag a[qeyeay tiaceene ae oe ,PIOH Uo spag sneusg Ayoede pag ayewa - andy - Ayjioe4s HSC
oO

OZ/OL/L Jo se eq
pyodey ysipieM pue snsued juened YDGD HSC

WeJq

slualeg eg aynoy

#1896 VO ‘omawenes
Ozp mony Bang YRUIN 009)
wur) qweWabeUEYy UAgE Y

NOILLV.LNAW3 Td ONY SNINNV 1d DIDSSLVYLS 1V.LidSOH 4O NOISIAIG

JOW3N05 'WOSMAN NINYS

ERAOUIED 10 SEIS
